Case 8:22-cv-00581-WFJ-AEP           Document 103-1   Filed 11/27/23   Page 1 of 9 PageID
                                            648



                          UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF FLORIDA - TAMPA DIVISION

                            CASE NO. 8:22-cv-00581-WFJ-AEP

 HOLLY J. FRAZETTA, HEIDI L.
 FRAZETTA, AND FRAZETTA
 PROPERTIES, LLC,
                       Plaintiffs,
 v.
 VANGUARD      PRODUCTIONS,
 LLC AND J. DAVID SPURLOCK,
                  Defendants.
 ____________________________________/
       DEFENDANTS’ SECOND MOTION FOR SUMMARY JUDGMENT
                         (DISPOSITIVE)

           Defendants VANGUARD PRODUCTIONS, LLC and J. DAVID SPURLOCK submit

 their second motion for summary judgment, and in support, would show as follows:

      I.        INTRODUCTION

           1.    The facts presented in the Affidavit of Joe Weber [DIN 87], Affidavit of

 JD SPURLOCK [DIN 95], and Defendants’ Statement of Undisputed Facts (or

 “Indisputable Facts”) [DIN 96] show that Plaintiffs granted Defendants rights to

 publish Frazetta Definitive Reference in a written agreement executed in 2010.

           2.    A copy of the agreement, entitled Frazetta Endorsement and Trademark

 License Agreement (“License Agreement”), is attached to the Affidavit of Joe Weber

 [DIN 87] as an exhibit [DIN 87-2].
Case 8:22-cv-00581-WFJ-AEP                  Document 103-1         Filed 11/27/23   Page 2 of 9 PageID
                                                   649
 Holly J. Frazetta, et al. vs. Vanguard Productions, LLC et al.
 Case No. 8:22-CV-00581 WFJ-AEP

          3.       The License Agreement, Sub-part B of the Parties’ 2010 Settlement

 Agreement, provides Defendants with publishing rights to Frazetta Definitive Reference

 in perpetuity, with no limits on revisions, additions, or subtractions to text, images

 reproduced, or graphic design presentation. [DIN 87-2, p. 18; Sec. 4 (A)].

          4.       SPURLOCK was publisher, co-author and co-editor of the original 2008

 VANGUARD edition. Revisions made for the 2010 edition were by SPURLOCK, as are

 the revisions to the 2022 edition. Exhibit in evidence submitted with SPURLOCK's

 affidavit shows that, updating credits, including primary author credits, is not

 unusual and is proper. The exhibit provides as an example of this, Taschen Books’

 updating credits on revised editions of their Masterpieces of Fantasy Art book.

          5.       The 2008 and 2010 editions of Frazetta Definitive Reference contain the

 Death Dealer II, Death Dealer V, and Death Dealer VI images, albeit in a different

 context, however, license to reproduce these images was clearly granted by Plaintiffs,

 providing Defendants the right up revise, add, subtract, present images and text and

 publish as Defendants "see fit" without limitation. [DIN 87-2, p. 18; Sec. 4 (A)].

      II.      PROCEDURAL HISTORY

          6.       With no Cease-and-Desist notice delivered, Plaintiffs filed suit March

 13, 2022, alleging under the United States Copyright Act of 1976, 17 U.S.C. § 101, et

 seq., that Defendants’ reproduction of Death Dealer II and Death Dealer V 1 in Frazetta




 1 The Complaint alleges reproduction of Death Dealer VI, but this image was not
 reproduced in the 2022 edition of Frazetta Definitive Reference.
                                                     Page 2 of 9
Case 8:22-cv-00581-WFJ-AEP                  Document 103-1         Filed 11/27/23   Page 3 of 9 PageID
                                                   650
 Holly J. Frazetta, et al. vs. Vanguard Productions, LLC et al.
 Case No. 8:22-CV-00581 WFJ-AEP

 Definitive Reference was done without permission or payment, constituting copyright

 infringement pursuant to 17 U.S.C. § 106. [DIN 1].

          7.       VANGUARD’s Answer [DE 14] and SPURLOCK’s Answer [DE 15] were

 filed May 12, 2022.

          8.       Portions of Death Dealer II and Death Dealer V, as originally painted in

 1986 and 1989, were reproduced in Frazetta Definitive Reference in the context of cover

 art used on original covers of books long out of print, and thus are historic artifacts.

      III.      LEGAL STANDARD ON SUMMARY JUDGMENT

          9.       Summary judgment is appropriate “if the pleadings, the discovery and

 disclosure material on file, and any affidavits "show that there is no genuine issue as

 to any material fact and that the moving party is entitled to a judgment as a matter of

 law." Fed. R. Civ. P. 56(c).

          10.      An issue is "genuine" if the evidence is such that a reasonable jury could

 return a verdict for the non-moving party. Anderson v. Liberty Lobby, 477 U.S. 242,

 248 (1986). A factual dispute is “material” if it "might affect the outcome of the suit

 under the governing law." Anderson, at 248.

          11.      Where the non-moving party bears the burden of proof on a particular

 issue at trial, the moving party's initial burden can be met simply by "pointing out to

 the district court that there is an absence of evidence to support the non-moving

 party's case." Celotex Corp. v. Catrett, 477 U.S. 317, 322, 325 (1986).




                                                     Page 3 of 9
Case 8:22-cv-00581-WFJ-AEP                  Document 103-1         Filed 11/27/23   Page 4 of 9 PageID
                                                   651
 Holly J. Frazetta, et al. vs. Vanguard Productions, LLC et al.
 Case No. 8:22-CV-00581 WFJ-AEP

          12.      After the moving party has met its initial burden, the adverse party must

 identify specific facts in the record showing a genuine issue exists for trial and cannot

 rest on "mere allegations or denials" in its responsive pleadings, but "must set forth

 specific facts showing that there is a genuine issue for trial." Fed. R. Civ. P. 56(e).

          13.      Under Rule 56, the court must view the evidence presented on the

 motion in the light most favorable to the opposing party. Anderson, 477 U.S. at 255;

 Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

          14.      No issue for trial exists unless the non-moving party can demonstrate

 the existence of specific, affirmative evidence in the record such that a reasonable

 jury could return a verdict in its favor. Anderson, 477 U.S. at 249.

          15.      Summary judgment is appropriate if the non-moving party fails to make

 a factual showing "sufficient to establish an element essential to that party's case, and

 on which that party will bear the burden of proof at trial." Celotex, 477 U.S. at 324;

 see also, Anderson, 477 U.S. at 249-50, 252 (Summary judgment may be granted if

 evidence presented by non-movant is merely colorable or not significantly probative

 of the issues; a "mere scintilla" of evidence not enough to defeat summary judgment).

      IV.       LEGAL STANDARD ON COPYRIGHT INFRINGEMENT CLAIMS

                   A.     Plaintiffs Lack Proof of Copyright Ownership

          16.      Plaintiffs have failed to prove the first of prong, i.e., non-hearsay

 evidence of copyright registration certificates for the original works reproduced in

 Frazetta Definitive Reference.



                                                     Page 4 of 9
Case 8:22-cv-00581-WFJ-AEP                  Document 103-1         Filed 11/27/23   Page 5 of 9 PageID
                                                   652
 Holly J. Frazetta, et al. vs. Vanguard Productions, LLC et al.
 Case No. 8:22-CV-00581 WFJ-AEP

          17.      Proof of registration or an application to register a copyright is required

 to litigate a claim of copyright infringement, and a plaintiff must identify which

 portions of a protected work were copied. See, e.g., Compulife Software Inc. v.

 Newman, 959 F. 3d 1288 (11th Cir. 2020) citing, Bateman v. Mnemonics, Inc., 79 F.3d

 1532, 1541 (11th Cir. 1996), quoting Feist Publications, Inc. v. Rural Tel. Serv. Co., 499

 U.S. 340, 361, 111 S.Ct. 1282, 113 L.Ed.2d 358 (1991) (Plaintiffs bear the burden of

 proof of (i) ownership of a valid copyright and (ii) unauthorized copying of the

 original work’s constituent elements).

          18.      Plaintiffs filed uncertified copyright registration certificates bearing a

 2009 copyright registration date for paintings created in 1986 and 1989. There are no

 certified copyright registration certificates issued earlier than 2009. There are no

 certified transfer agreements, and no affidavit(s) attesting to the authenticity of the

 2009 copyright registration certificates. [DIN 79-1].

                   B.       Plaintiffs Allege Copyrights to Derivative Versions of
                            Death Dealer II and Death Dealer V, Not the Original
                            Works Reproduced in Frazetta Definitive Reference.

          19.      The Complaint’s images differ from the Death Dealer II and Death Dealer

 V images reproduced in Frazetta Definitive Reference.

          20.      Plaintiffs’ inability to produce a certified copyright registration

 certificate of the original works entitled Death Dealer II and Death Dealer V,

 proving exactly what image and/or version, they have registered, results in a failure

 to make a prima facie case for infringement.



                                                     Page 5 of 9
Case 8:22-cv-00581-WFJ-AEP                  Document 103-1         Filed 11/27/23   Page 6 of 9 PageID
                                                   653
 Holly J. Frazetta, et al. vs. Vanguard Productions, LLC et al.
 Case No. 8:22-CV-00581 WFJ-AEP

          21.      Plaintiffs represent they registered original art, not what Defendants

 reproduced as a historic artifact(s), which is the circa 1989 publisher's long out-of-

 print book cover graphic design, incorporating some portion, of some version, of

 Frazetta art.

          22.      Plaintiffs may have registered copyrights to the derivative works in

 2009, but this does not give Plaintiffs copyrights to the original 1986 and 1989

 original works, which were not copyright registered.

          23.      Section 103 of the Copyright Act provides that copyrights to a

 derivative work do not give any copyrights to the original work:

                   The copyright in a compilation or derivative work extends only to
                   the material contributed by the author of such work, as
                   distinguished from the preexisting material employed in the work,
                   and does not imply any exclusive right in the preexisting material.
                   The copyright in such work is independent of, and does not affect or
                   enlarge the scope, duration, ownership, or subsistence of, any copyright
                   protection in the preexisting material.

 17 U.S.C. § 103(b) (emphasis added)

          24.      The difference in the Death Dealer II and Death Dealer V images is

 demonstrated by comparison of the Death Dealer images in Plaintiffs’ Complaint

 [DIN 1, p. 12] to the Death Dealer images reproduced in Frazetta Definitive Reference.

 [DIN 67-1, p. 71 or hardcopy Frazetta Definitive Reference p. 138].

          25.      SPURLOCK describes the differences in the images in his affidavit [DIN

 87, p. 13, ¶¶ 47-48; images shown in DIN 87-4 and DIN 87-5; and DIN 95, Aff. JD

 SPURLOCK].

                                                     Page 6 of 9
Case 8:22-cv-00581-WFJ-AEP                  Document 103-1         Filed 11/27/23   Page 7 of 9 PageID
                                                   654
 Holly J. Frazetta, et al. vs. Vanguard Productions, LLC et al.
 Case No. 8:22-CV-00581 WFJ-AEP

          26.      Plaintiffs’ allegations of unproven copyright ownership of differing

 versions of the works are clearly incompetent to allege copyright infringement of the

 Death Dealer images reproduced in Frazetta Definitive Reference.

    V.       THE PARTIES’ WRITTEN AGREEMENT GRANTS DEFENDANTS
             RIGHTS TO PUBLISH FRAZETTA DEFINITIVE REFERENCE

          27.      J. DAVID SPURLOCK’s Affidavit [DIN 87, Sec. IV, pp. 14-15] shows that

 Frazetta Definitive Reference is a revised edition of the 2008 and 2010 editions of

 Frazetta Definitive Reference, which Plaintiffs granted Defendants (“Licensee”) the

 right to publish in 2010 under the Parties’ Frazetta Endorsement and Trademark License

 Agreement 2 (“License Agreement”) a copy of which is attached to Mr. Weber’s Affidavit

 [DIN 94] as Exhibit 1 [DIN 94-1, p. 29, Sec. 4 (A)], providing Defendants publishing

 rights as follows:

                   4. LIST OF FRAZETTA BOOKS TO BE PUBLISHED UNDER THIS
                      AGREEMENT
                   A. One (1) book entitled "The Definitive Frazetta Reference" by
                   James Bond and David Winiewicz, Ph.D. (which has been
                   previously published by Licensee). No royalties or sales reports are
                   due Licensor or the artist Frank Frazetta on this title. Licensee has the
                   right to update, revise text, replace images, redesign and publish this
                   FRAZETTA Book as Licensee sees fit.

 [DIN 94-1, p. 29, emphasis added]

          28.      Section 2 of the License Agreement provides the publishing rights “in

 perpetuity and shall not expire, except through Licensees (uncured) breach of this

 Agreement … .” [DIN 94-1, p. 29]

 2 Resolving litigation styled Frank Frazetta vs. Vanguard Productions and J. David Spurlock,
 Case No. 08 civ 6670 (SDNY)
                                                     Page 7 of 9
Case 8:22-cv-00581-WFJ-AEP                  Document 103-1         Filed 11/27/23   Page 8 of 9 PageID
                                                   655
 Holly J. Frazetta, et al. vs. Vanguard Productions, LLC et al.
 Case No. 8:22-CV-00581 WFJ-AEP

          29.      Defendants own the copyrights to the 2008 edition of Definitive Frazetta

 Reference and the 2010 edition, which bore the revised title Frazetta Definitive Reference.

          30.      The 2023 edition of Frazetta Definitive Reference is a derivative version of

 the earlier editions. Section 101 of the Copyright Act defines a “derivative work” as:

                   … a work based upon one or more preexisting works, such as a
                   translation, musical arrangement, dramatization, fictionalization,
                   motion picture version, sound recording, art reproduction,
                   abridgment, condensation, or any other form in which a work may be
                   recast, transformed, or adapted. A work consisting of editorial revisions,
                   annotations, elaborations, or other modifications which, as a whole,
                   represent an original work of authorship, is a “derivative work”.

 17 U.S.C. § 101 (emphasis added).

          31.      Section 106 of the Act provides the copyright owner with the exclusive

 right to prepare derivative works based on the copyrighted work. 17 U.S.C. § 106(2).

          32.      Defendants did not breach the License Agreement. Plaintiffs have not

 given any written notice of any breach of the License Agreement to Defendants.

          33.      Plaintiffs are aware of the terms of the License Agreement and provided

 Defendants with publishing rights in 2010 because reproduction of the Death Dealer

 images as historical artifacts in the context of cover art for albums, advertising for

 merchandise, and out of print book cover art and illustrations, constituted an

 acceptable use to Plaintiffs, who agreed that no royalties or fee was due and no

 permission was needed to issue future editions.




                                                     Page 8 of 9
Case 8:22-cv-00581-WFJ-AEP                  Document 103-1         Filed 11/27/23   Page 9 of 9 PageID
                                                   656
 Holly J. Frazetta, et al. vs. Vanguard Productions, LLC et al.
 Case No. 8:22-CV-00581 WFJ-AEP

          34.      The License Agreement provides that Florida law governs interpretation

 of the agreement and provides for an award of costs and attorney’s fees to the

 prevailing party in litigation. [DIN 94-1, p.31, Sec. B].

    VI. CONCLUSION

          WHEREFORE, under the above-stated facts and legal authorities, Defendants

 respectfully request this Honorable Court enter their Order granting summary

 judgment in Defendants’ favor, and for their attorney fees and costs as provided

 under 17 U.S.C. § 505 or pursuant to the terms of the Frazetta Endorsement and

 Trademark License Agreement as the prevailing party.

 DATED NOVEMBER 27, 2023

                                                       Respectfully submitted,


                                              /s/:     _____________________________
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                                                     Page 9 of 9
